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 5                                    UNITED STATES DISTRICT COURT

 6                                 NORTHERN DISTRICT OF CALIFORNIA

 7                                             SAN JOSE DIVISION

 8
     UNITED STATES OF AMERICA,                         )   CASE NO. 22CR00212 BLF
 9                                                     )
             Plaintiff,                                )   DEFENDANT’S SENTENCING
10                                                     )   MEMORANDUM
        v.                                             )
11                                                     )
     CHRISTIAN ACOSTA INIGUEZ,                         )   May 30, 2023
12                                                     )   9:00 AM
             Defendant.                                )   Hon. Beth L. Freeman
13                                                     )

14
                                               I: INTRODUCTION
15
             Defendant Christian Acosta Iniguez is appearing for sentencing for a drug transaction that never
16
     happened. Pursuant to U.S.S.G. §2D1.6 and § 2D1.1, the alleged amount of cocaine discussed in this
17
     matter yields a base offense level of 26 – a guideline sentence that potentially exceeds the statutory
18
     maximum for the charge. While Mr. Iniguez understands that an attempt to commit a criminal offense is
19
     punished just as if the crime was committed, he argues that the guidelines are of limited value in
20
     determining an appropriate and fair sentence. What if the alleged source had only been able to deliver a
21
     lesser quantity of cocaine? What if the material delivered was mixed with some cutting agent? What if
22
     the alleged source intended to rob the prospective purchaser? These variables stand in contrast to the
23
     typical controlled buy, where the amount and purity of a controlled substance can be proven.
24
             Mr. Iniguez has no criminal history and committed this attempted offense while out of work. He
25
     also had a substantial cocaine addiction which clearly influenced him to attempt to arrange this deal.
26
     Under these circumstances, he submits that the appropriate sentence in this matter is a term of 24
27
     months, to be served at a federal institution that offers him treatment for substance abuse.
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 1                                             II: BACKGROUND

 2          Mr. Acosta-Iniguez was charged by information with one count of Illegal Use of a

 3 Communication Facility in violation of 21 U.S.C. § 843(b). On January 10, 2023, Mr. Iniguez entered a

 4 plea of guilty to the charge.

 5          The circumstances of the offense are accurately set forth in the PSR, ¶¶ 9-12. Briefly, Mr.

 6 Iniguez was intercepted on a wire attempting to set up a cocaine transaction. On July 30, 2020, Mr.

 7 Iniguez called Mr. De La Cruz who was the subject of the wiretap, and they discussed a potential

 8 transaction of five “stamps” meaning 3 to 4 kilograms of cocaine.

 9          The next day, De La Cruz and the prospective buyer, Castanon, travelled to southern California

10 where they met with Mr. Iniguez at a hotel in Downey. The parties waited for the alleged drugs to

11 arrive, but the source never appeared. Castanon and De LA Cruz were stopped by the California

12 Highway patrol while returning to Northern California, and officers seized $108,100 from their vehicle.

13                                   III: GUIDELINE CALCULATIONS

14          Mr. Iniguez agrees with the guideline calculations set forth in the PSR beginning at ¶18. The

15 base offense level for an offense involving at least 2 kilograms but less than 3.5 kilograms of cocaine is

16 26. U.S.S.G. § 2D1.6 and 2D1.1(a)(5).

17          The Application Note to § 2D1.6 provides that when the offense level for the underlying offense

18 is to be determined by reference to 2D1.1, Application Note 5 should be consulted.
19          Application Note 5 states in pertinent part that ‘In an offense involving an agreement to sell a

20 controlled substance the agreed-upon quantity of the controlled substance shall be used to determine the

21 offense level unless the sale is completed, and the amount delivered more accurately reflects the scale of

22 the offense. For example, the defendant agrees to sell 500 g of cocaine, the transaction is completed by

23 the delivery of the controlled substance-actually 480 g of cocaine, and no further delivery is scheduled.

24 In this example, the amount delivered more accurately reflects the scale of the offense.” In other words,

25 talk about drugs may be punished more severely than the actual delivery of a controlled substance.

26          Of course, the prospective buyers were searched, and over $100,000 was seized from their

27 vehicle. And Mr. Iniguez admitted in his plea agreement that that amount was consistent with the

28 purchase of 3 to 4 kg of cocaine at the time. Nevertheless, the cocaine never arrived, and it remains


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 1 unknown what if anything may actually have been delivered.

 2          Fortunately for Mr. Iniguez, these guidelines are not binding on this court. 18 U.S.C. § 3553

 3 factors in this matter tell us that a lower sentence is appropriate and just.

 4                         IV: § 3553 FACTORS JUSTIFY A LOWER SENTENCE.

 5          Both the government and probation acknowledge that Mr. Iniguez does not deserve the

 6 maximum sentence of four years even though it is in the guideline range. In the plea agreement between

 7 Mr. Iniguez and the government the parties agreed that the government would ask for a sentence no

 8 greater than 36 months. The probation officer is recommending 30 months in her sentencing

 9 recommendation.

10          Mr. Iniguez agrees with the §3553(a) factors articulated in the sentencing recommendation by

11 the probation officer and in the PSR. Briefly, Mr. Iniguez does not have any past criminal convictions at

12 all; he has survived various traumatic events; and he “lost everything” when he was laid off due to the

13 Covid 19 pandemic.

14          Mr. Iniguez clearly suffers from addiction. His difficulty in controlling that addiction is evident

15 from the court record, and his various positive drug tests which eventually resulted in him being

16 remanded into custody. Undersigned counsel is hopeful that with participation and completion of an

17 appropriate drug treatment program he will be able to continue with his life as a productive member of

18 society.
19          For the above reasons, it is respectfully requested that this court sentenced Mr. Iniguez to no

20 longer than 24 months in custody.

21          Respectfully Submitted,

22

23          Dated: May 23, 2023.                   By: ________________________
                                                   Peter A. Leeming, attorney for
24                                                 Christian Acosta Iniguez
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